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9
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10   United States of America
11                          UNITED STATES DISTRICT COURT
12                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
13
14   UNITED STATES OF AMERICA,              No. CV 19-7073

15                      Plaintiff,               [CR 11-0415-DDP]

16                v.                        UNITED STATES OF AMERICA’S
                                            APPLICATION FOR ISSUANCE OF:
17   LENNY KYLE DYKSTRA,
                                               WRIT OF CONTINUING
18                      Defendant.             GARNISHMENT TO GARNISHEE
                                               PENSION COMMITTEE OF THE
19                                             MAJOR LEAGUE BASEBALL
                                               PLAYERS PENSION PLAN
20                                              [28 U.S.C. § 3205(b)]

21                                               and

22                                             CLERK’S NOTICE OF
                                               ENFORCEMENT TO DEBTOR
23                                              [28 U.S.C. § 3202(b)]
24
25
26
27
28
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1             The United States of America, in accordance with 28 U.S.C. § 3205(b)(1), applies
2    for a Court Order Issuing a Writ of Continuing Garnishment in order to secure payment
3    on the criminal judgment debt entered in United States v. Lenny Kyle Dykstra, CR 11-
4    0415-DDP. In connection with this request, the United States also seeks the issuance
5    of a Clerk’s Notice pursuant to 28 U.S.C. § 3202(b), as prepared and submitted by the
6    United States as an attachment to this application.
7             On or about December 6, 2012, the District Court of the United States in the
8    Central District of California entered an order imposing the following criminal judgment
9    debt:
10                Restitution: $200,000.00
11                Special assessment: $300.00
12            The defendant-judgment debtor is Lenny Kyle Dykstra, Social Security Number
13   XXX-XX-4486, last known address in Murrieta, California.
14            As of August 12, 2019, Defendant’s criminal debt balance is $153,175.02.
15   Demand for payment of the above-stated debt was made upon Defendant more than
16   thirty (30) days before the date of this application, and Defendant has not paid the
17   amount due.
18            Garnishee Pension Committee of the Major League Baseball Players Pension Plan
19   is believed to owe or will owe, money or property to Defendant, or is in possession
20   of property of Defendant, and Defendant has a substantial nonexempt interest in
21   the property. Specifically, it is believed that funds, assets, or property belonging to
22   Lenny Kyle Dykstra are currently in Pension Committee of the Major League Baseball
23   Players Pension Plan’s custody, control, or possession. By and through this Writ of
24   Garnishment, the United States seeks to take the funds or property from Lenny Kyle
25   Dykstra currently held by Pension Committee of the Major League Baseball Players
26   Pension Plan to secure payment towards the criminal judgment debt. 28 U.S.C. § 3205
27   (b)(1)(C).
28   ///

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1         The name and address of Garnishee or the Garnishee’s authorized agent is:
2               Pension Committee of the Major League Baseball Players
                Pension Plan
3
                Attn: Linda Way-Smith, Esq.
4               911 Ridgebrook Rd.
                Sparks, Maryland 21152
5
6    Dated: August 13, 2019.                   Respectfully submitted,
7                                              NICOLA T. HANNA
                                               United States Attorney
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9                                              Assistant United States Attorney
                                               Chief, Civil Division
10                                             INDIRA J. CAMERON-BANKS
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13                                             ROBERT I. LESTER
                                               Assistant United States Attorney
14
                                               Attorneys for Plaintiff
15                                             United States of America
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